

People v Bausano (2018 NY Slip Op 07645)





People v Bausano


2018 NY Slip Op 07645


Decided on November 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2018

PRESENT: PERADOTTO, J.P., LINDLEY, CURRAN, TROUTMAN, AND WINSLOW, JJ. (Filed Nov. 9, 2018.) 


MOTION NO. (1222/14) KA 13-01494.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRICHARD BAUSANO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis and other relief denied.








